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                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                    RELATED CASE ORDER


        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. No objection has been timely received. As the judge assigned to cases:

        USA v. Garcia, No. 21-cr-429
        USA v. Klinger, No. 22-cr-31
        USA v. Bellhouse, No. 22-cr-66


       I find that the more recently filed case(s) that I have initialed below are related to the cases
assigned to me, and such case(s) shall be reassigned to me.

 Case                   Title                                                   Related Not
                                                                                        Related
 22-cv-08924-JST         M.S. v. Federal Correctional Institution –             YGR
                         Dublin, et al.

 22-cv-05137-VKD         M.R. v. Federal Correctional Institution FCI           YGR
                         Dublin, et al.
 22-cv-09096-WHO         Preciado v. Bellhouse, et al.                          YGR

                                              ORDER

        For administrative purposes, all civil actions shall be related under M.R. v. Federal
Correctional Institution FCI Dublin, et al., No. 22-cv-05137 after that matter has been reassigned
to the undersigned. Going forward, No. 22-cv-05137 will be deemed the lowest filed case for
civil purposes only.

         The parties are instructed that all future filings in any reassigned case are to bear the
initials of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR Local
Rules remain in effect; and any deadlines established in a case management order continue to
govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.


Dated: February 14, 2023                           By:

                                                   Yvonne Gonzalez Rogers

                                                   United States District Judge




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